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 2   San Francisco CA 94133
     Tel 415/394-3800
 3   Fax 415/394-3806
 4   Attorney for Defendant
     JASON PETERSON
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 7
 8                            UNITED STATES DISTRICT COURT

 9                       NORTHERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                      No. CR 060266 CRB

12               Plaintiff,                         STIPULATION AND ORDER
                                                    TO CONTINUE HEARING DATE
13         v.
14   JASON PETERSON,
15             Defendant.
     _________________________________/
16
17         THIS STIPULATION and ORDER to continue hearing date, it is
18   hereby stipulated between the United States of America, by and
19   through DAVID HALL, ESQ., AUSA, and Defendant JASON PETERSON, by
20
     and through her attorney, ZENIA GILG, that the bail revocation
21
     hearing now set for June 1, 2006, at the hour of 11:00 a.m., be
22
     rescheduled to Tuesday, June 13, 2006, at the hour of 2:00 p.m.,
23
     in order to allow the attendance of counsel for Defendant JASON
24
     PETERSON in the District of Nevada case, No. 2:03-cr-542-
25
     JCM(PAL), to attend the hearing relative to revocation of bond
26
     in that case.
27
           This Stipulation is made in good faith and not for purposes
28
     of delay, and is made solely to allow the attendance of defense

     counsel, DONALD YORK EVANS, of Reno, Nevada at the hearing
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     relative to the Nevada and the California cases.
 1
 2
 3   /S/DAVE HALL                                 /S/ZENIA GILG
     DAVE HALL                                    ZENIA K. GILG
 4   Assistant U.S. Attorney                      Attorney for Defendant
     Dated: May 31, 2006
                                                      S    STR31,
                                                  Dated:DIMay I   2006
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           IT IS SO ORDERED.
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 7
           Dated: 6-1-06                         IT IS S




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                                                               s Larson




                                        NO
 9                                      JAMES LARSON,
                                                 u dg e J a meMagistrate Judge
                                               J




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                                        United States         District Court



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